Case 2:15-cr-20723-MFL-APP ECF No. 156, PageID.2228 Filed 02/10/17 Page 1 of 2




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

UNITED STATES OF AMERICA,

       Plaintiff,                                 Case No. 15-20723
                                                  Hon. Matthew F. Leitman
v.

D3, RODNEY MORET-QUEZADA,

     Defendant.
__________________________________________________________________/

        ORDER GRANTING THE GOVERNMENT’S MOTION FOR
       RECONSIDERATION (ECF #144) AND DENYING DEFENDANT
     RODNEY MORET-QUEZADA’S MOTION IN LIMINE TO SUPPRESS
                   MAPS REPORTS (ECF #102)


       On July 27, 2016, Defendant Rodney Moret-Quezada filed a Motion in

Limine to Suppress MAPS Reports (the “Motion in Limine”). (ECF #102.) By

order dated December 8, 2016, the Court granted the Motion in Limine. (See ECF

#139.) On December 22, 2016, the United States of America filed a Motion for

Reconsideration. (See ECF #144.) The Court held a hearing on the Motion for

Reconsideration on February 9, 2017.

       For the reasons stated on the record at the February 9, 2017 hearing, it is

HEREBY ORDERED that the Motion for Reconsideration is GRANTED, the

Motion in Limine is DENIED, and the Court will allow the admission of the

MAPS Reports. When the Court admits the MAPS Reports, it will give a limiting


                                        1
Case 2:15-cr-20723-MFL-APP ECF No. 156, PageID.2229 Filed 02/10/17 Page 2 of 2




instruction concerning the jury’s consideration of those reports.         The Court

currently intends to give the limiting instruction that the Court read into the record

during the February 9, 2017, hearing. However, prior to trial, defense counsel may

submit proposed changes to the limiting instruction, and the Court will consider

such proposals, if any.

      IT IS SO ORDERED.

                                       s/Matthew F. Leitman
                                       MATTHEW F. LEITMAN
                                       UNITED STATES DISTRICT JUDGE
Dated: February 10, 2017


I hereby certify that a copy of the foregoing document was served upon the parties
and/or counsel of record on February 10, 2017, by electronic means and/or
ordinary mail.

                                       s/Holly A. Monda
                                       Case Manager
                                       (313) 234-5113




                                          2
